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        EXHIBIT 7
                                                                                                        Billed         Payments
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                                                                                Diagnostic Chiropractic $ 320,141.62 $ 3,450.00
                                                                                Duramed                 $ 136,015.00 $       46.62
                                                                                Lint Chiropractic PC    $ 1,046,586.00 $ 73,375.50
                                                                                Lint Chiropractic PC II $ 166,585.00
                                                                                MI Medical Management $ 159,575.00
                                                                                Suplies Plus MI         $ 51,600.00
                                                                                                        $ 1,880,502.62 $ 76,872.12
